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                         IN THE UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                                :    CHAPTER 7
                                                      :
INGRID DANITA LACKEY-RICHARDSON,                      :    CASE NO. 19-52442-BEM
RONNIE RICHARDSON,                                    :
                                                      :
         DEBTORS.                                     :
                                                      :
                                                      :
REGIONS BANK DBA REGIONS                              :
MORTGAGE,                                             :    CONTESTED MATTER
                                                      :
         MOVANT.                                      :
                                                      :
VS.
                                                      :
INGRID DANITA LACKEY-RICHARDSON,                      :
RONNIE RICHARDSON, DEBTORS,                           :
JOHN LEWIS, JR., TRUSTEE,                             :
                                                      :
         RESPONDENTS.                                 :

                 NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         ___September 11, 2019___ at ____9:30 AM______ at the U.S. Courthouse, Richard B.
         Russell Federal Building, 75 Ted Turner Drive, SW, Atlanta, GA 30303, Courtroom 1402.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a
         certificate stating when, how and on whom (including addresses) you served the response.
         Send your response so that it is received by the Clerk at least two business days before the
         hearing.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
         (30) days, Movant waives the requirement for holding a preliminary hearing within thirty
         days of
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      filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
      automatic stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, U.S. Bankruptcy Court, Room 1340, 75 Ted
      Turner Drive, SW, Atlanta, GA 30303. You must also send a copy of your response to the
      undersigned at the address stated below.


             Dated this __14th day of August, 2019__________


                                        /s/
                                     Daniel P. Moore, Esq., Georgia Bar No. 940480
                                     Attorney for Movant
                                     The Geheren Firm, P.C.
                                     4828 Ashford Dunwoody Road, 2nd Floor
                                     Atlanta, GA 30338
                                     Phone: 678-587-9500
                                     Email: dmoore@geherenlaw.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                              :    CHAPTER 7
                                                    :
INGRID DANITA LACKEY-RICHARDSON,                    :    CASE NO. 19-52442-BEM
RONNIE RICHARDSON,                                  :
                                                    :
         DEBTORS.                                   :
                                                    :
                                                    :
REGIONS BANK DBA REGIONS                            :
MORTGAGE,                                           :    CONTESTED MATTER
                                                    :
         MOVANT.                                    :
                                                    :
VS.
                                                    :
INGRID DANITA LACKEY-RICHARDSON,                    :
RONNIE RICHARDSON, DEBTORS,                         :
JOHN LEWIS, JR., TRUSTEE,                           :
                                                    :
         RESPONDENTS.                               :


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Movant is the servicer of a loan secured by certain real property in which Debtors claim

an interest. Said real property is security for a promissory note, and is commonly known as 4914

Wolverton Drive, Lithonia, Georgia 30038. (“Property”).
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                                                  3.

       Debtor’s Statement of Intention provides for the surrender of the real property. In

addition, Debtor has defaulted in making payments which have come due according to the Note.

Through the month of August, 2019, Debtors are delinquent for thirty-one (31) contractual

payments totaling $21,689.21 plus attorney fees and costs of $931.00.

                                                  4.

       The unpaid principal balance is $93,015.18, and interest is due thereon in accordance

with the Note. The total payoff is $117,381.84.

                                                  5.

       Because of Debtors' default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                  6.

       Because there may be little or no equity in the property which could benefit the Estate,

the Trustee’s interest should be deemed abandoned.

                                                  7.

       In addition, Movant has incurred $931.00 in legal fees and costs. Creditor reserves all

rights to seek an award or allowance of such fees and expenses in accordance with applicable

loan documents, related agreements, the Bankruptcy Code, and other applicable law.

                                                  8.

       Movant requests it be permitted to contact the Debtor’s via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.
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       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtors via telephone

or written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.



                                     /s/ Daniel P. Moore
                                     Daniel P. Moore, Esq., Georgia Bar No. 940480
                                     Attorney for Movant
                                     The Geheren Firm, P.C.
                                     4828 Ashford Dunwoody Road, 2nd Floor
                                     Atlanta, GA 30338
                                     Phone: 678-587-9500
                                     Email: dmoore@geherenlaw.com
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                                                                                    CHAPTER 7

                                CERTIFICATE OF SERVICE

        I, Daniel P. Moore, certify that I am over the age of 18 and that on August 14, 2019, I
served a copy of the within NOTICE OF ASSIGNMENT OF HEARING, together with the
MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in this bankruptcy matter by
electronic means and by depositing a copy of the same in the United States Mail in a properly
addressed envelope with adequate postage to the persons as follows:

Milton D. Jones                                     Mary Ida Townson
Milton D. Jones, Attorney                           Chapter 13 Trustee
P.O. Box 503                                        Suite 1600
Morrow, GA 30260                                    285 Peachtree Center Ave, NE
                                                    Atlanta, GA 30303


       The undersigned did also deposit same in first class United States mail addressed to the
following:

Ingrid Danita Lackey-Richardson
385 Linkmere Lane
Covington, GA 30014

Ronnie Richardson
385 Linkmere Lane
Covington, GA 30014



Executed on:      08/14/2019      By:    /s/ Daniel P. Moore
                    (date)               Daniel P. Moore, Esq.
                                         Georgia Bar No. 940480
                                         Attorney for Movant
